            Case 1:09-cv-00814-FMA Document 44 Filed 05/11/12 Page 1 of 1




      In The United States Court of Federal Claims
                                               No. 09-814C

                                        (Filed: May 11, 2012)
                                             __________

 PEW FOREST PRODUCTS,

                                  Plaintiff,

                          v.

 THE UNITED STATES,

                                 Defendant.

                                                _________

                                                ERRATA
                                                _________

          Please correct the following in the opinion filed on May 7, 2012, in the above captioned
action:

       On page 8, in the first paragraph, second line the word “contact” should be changed to
“contract.”

          IT IS SO ORDERED.



                                                            s/ Francis M. Allegra
                                                            Francis M. Allegra
                                                            Judge
